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 1    JOHN ELLIS (No. 59328)
      Jellis@ellislegal.com
 2    ELLIS LEGAL P.C.
      200 West Madison Street, Suite 2670
 3    Chicago, Illinois 60606
      Telephone: (312) 967-7629
 4
      Attorneys for Defendants
 5    BUMBLE INC.
      BUZZ HOLDINGS L.P.
 6

 7

 8
                               UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF ILLINOIS
10
                                         EASTERN DIVISION
11

12    DARIO DZANANOVIC, individually and on behalf             Case No. ________________
      of all others similarly situated,
13                                                             DECLARATION OF JOHN C.
                            Plaintiff,                         ELLIS IN SUPPORT OF
14                                                             DEFENDANTS BUMBLE INC.’S
             v.                                                AND BUZZ HOLDINGS L.P.’S
15                                                             NOTICE OF REMOVAL
      BUMBLE, INC. and BUZZ HOLDINGS, L.P.
16    Defendants.                                              [Circuit Court of Cook County Case
                                                               No. 2021-CH-5967]
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19
             I, John C. Ellis, hereby declare as follows:
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             1.      I am a member of the Bar of the State of Illinois and the owner of the law
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      firm of Ellis Legal P.C., counsel of record for Defendants Bumble Inc. and Buzz Holdings
22
      L.P. (collectively, “Defendants”) in the above-captioned action. I have personal
23
      knowledge of the matters set forth below and, if called upon to do so, I could and would
24
      testify competently thereto.
25
             2.      Attached to this Declaration as Exhibit A is a true and correct copy of the
26
      civil action filed by Plaintiff Dario Dzananovic, purportedly on behalf of himself and all
27

28

      DECLARATION OF JOHN ELLIS ISO DEFENDANTS’ NOTICE OF REMOVAL
      ny-2307359
     Case: 1:21-cv-06925 Document #: 1-1 Filed: 12/30/21 Page 2 of 29 PageID #:8



 1    similarly situated individuals, in the Circuit Court of Cook County, Illinois, entitled Dario
 2    Dzananovic v. Bumble, Inc., et al., Case No. 2021-CH-5967.
 3           3.      Attached hereto as Exhibit B is a true and correct copy of the Notice of
 4    Removal (without exhibits) that was filed in the Circuit Court of Cook County.
 5           I declare under penalty of perjury under the laws of the State of Illinois and the
 6    United States that the foregoing is true and correct.
 7           Executed this 30th day of December, 2021 in Chicago, Illinois.
 8

 9
10                                                            /s/ John Ellis
                                                              _______________________
11                                                            John Ellis

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                                                         2
      DECLARATION OF JOHN ELLIS ISO DEFENDANTS’ NOTICE OF REMOVAL
      ny-2307359
Case: 1:21-cv-06925 Document #: 1-1 Filed: 12/30/21 Page 3 of 29 PageID #:9




                             Exhibit A
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                              Exhibit B
     Case: 1:21-cv-06925 Document #: 1-1 Filed: 12/30/21 Page 28 of 29 PageID #:34




               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                   COUNTY DEPARTMENT, CHANCERY DIVISION


DARIO DZANANOVIC, individually and on                )
behalf of similarly situated individuals,            )
                                                     )
                       Plaintiffs,                   )       Case No. 21-CH-05967
                                                     )
v.                                                   )
                                                     )
BUMBLE, INC. and BUZZ HOLDINGS, L.P.                 )
                                                     )
                       Defendants.                   )


          NOTICE TO STATE COURT OF REMOVAL TO FEDERAL COURT

        Please take notice that Defendants BUMBLE, INC. AND BUZZ HOLDINGS, L.P.

(“DEFENDANTS”), have, on December 30, 2021, filed a Notice of Removal with the Clerk of the

United States District for the Northern District of Illinois, to remove the above-referenced cause,

No. 21-CH-05967, from the Circuit Court of Cook County to the United States District Court for

the Northern District of Illinois. A copy of Defendants’ Notice of Removal is attached hereto

and marked as “Exhibit A.”

Dated: December 30, 2021                                     Respectfully submitted,

                                                             By: /s/ John C. Ellis
                                                                 Attorney for Defendants


John C. Ellis
ELLIS LEGAL P.C.
200 W. Madison Street, Suite 2670
Chicago, Illinois 60606
(312) 976-7629
jellis@ellislegal.com
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                               CERTIFICATE OF SERVICE
        The undersigned, an attorney, hereby certifies that on December 30, 2021 a true and
correct copy of the foregoing document was served via email, upon the following:


Katrina Carroll
Lynch Carpenter
111 W. Washing Street, Suite 1240
Chicago, IL 60602
katrina@lcllp.com



                                                                   /s/ John C. Ellis
                                                                   Attorney for Defendants


John C. Ellis
ELLIS LEGAL P.C.
200 W. Madison Street, Suite 2670
Chicago, Illinois 60606
(312) 976-7629
jellis@ellislegal.com
